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AUG 1 8 2015
STATE OF MISSOURI
} 5S JOAN M; GILMER
COUNTY OF ST. LOUIS } CIRCUIT CLERK, ST. LOUIS COUNTY

in. Division 2) “Circuit Court of ST. LOUIS COUNTY

STATE OF MISSOURI
SEARCH WARRANT

TO ANY POLICE OFFICER OF ST. LOUIS COUNTY, STATE OF MISSOURI,
GREETINGS:

WHEREAS, Detective Michael Slaughter, DSN 3562, of the St. lis founty Police
Department, on the _ 1 day of August, 2015 presented to Judge ay ana of
Division £3 of the Circuit Court of the County of St. Louis, State of Missouri, his duly
verifled application and petition in writing as provided by law stating upon information
and belief that certain items hetieved to be evidence of the commission of a crime and
contraband consisting:of child pornography, to wit:

Photographs, files and graphic images depicting sexual contact or a sexual performance
including actual or simulated, normal or perverted acts of human masturbation, deviate
sexual tutercourse, sexual intercourse or physical contact with or touching of a person’s
elothed or unclothed genitals, pubic area, buttocks, anus, or the breast of a female in an act
of apparent sexual stimulation or gratification and which has as one of its participants or
portrays as an observer of such conduct , contact or performance, a child or minor under
the age of 18, electronic data processing and storage devices, computers and computer
systems including centra) processing units, internal peripheral storage devices such as
fixed discs, external hard discs, floppy discs and diskettes, tape drives and tapes, optical
storage devise or other memory storage devices, peripheral input/output devices such as
keyboards, printers, video display monitors, optical readers and related communication
devices such as modems, routers: and other wireless devices; any and all cameras and
related equipment, video and audio recorders and all related recording equipment; any and
all photographs, copies of photographs and any manufactured hard copy of images related
to child pornography; any and all logs containing user names, passwords and
documentation or other identifiers necessary to examine or operate items; together with
system documentation, operating logs and handwritten notes related toa user
identifications, passwords and/or child pornography; oo

Are being kept and secreted in St. Louis County, Missouri upon the following premises:
9524 Corregidor Drive, St, Louis, Missouri, 63134 is a single family residence constructed

of red brick, and a grey roof. The residence has a permanently affixed number 9524
mounted on 4 porch post in front of the residence. The front door is white in color,

DEFENDANT'S
EXHIBIT

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In violation of the laws of the State of Missouri.

WHEREAS, from the facts set forth in said verified petition and attached affidavit, it
is found by me that there is probable cause to believe that the laws of the State of Missouri
are being violated at and in and upon the premises described above and that said items
constitute evidence of the commission of a crime.

NOW, THEREFORE, these are to command you that you search the said premises
above described within 10 days after the issuance of this warrant by day or night, and take
with you, if need be, the power of your county, and, if said above described property of.any
part thereof be found on said premises by you, that you seize the.same and take same into

‘your possession, making a complete and accurate inventory of the property so taken by you

in the presence of the person from whose possession the same js taken, if that be possible,
and giving to such person a receipt for such property, together with a copy of this warrant,
ot, if no person be found in possession of said property, leaving said receipt and said copy
upon the premises searched, and that you thereafter return the property so taken and
selzed by you, together with a duly verified copy of the inventory thereof and with your
return to his warrant to this court to be herein dealt with in accordance with law. You are
further commanded to search the computers, cameras, Storage devices, and electronic
devises seized by you, including any files that are password protected or encrypted, for
evidence of ownership and usage, files. and graphic images depicting child pornography
depicting sexual contact or a sexual performance including actual or simulated, normal or
perverted acts of human masturbation, deviate sexual intercourse, sexual intercourse or
physical. contact with or touching of a person's clothed or unclothed genitals, pubic area,
buttocks, anus, or the breast of a female in an act of apparent sexual stimulation or
gratification and which has as one of its participants or portrays as an observer of such
conduct, contact.or performance a child or minor, under the age of 18.

WITNESS. my hand and seal of this court this_& day of August, 2015 at_f (or :

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COUNTY OF ST. LOUIS }

i Division®® Circuit Court of ST. LOUIS COUNTY

STATE OF MISSOURI
SEARCH WARRANT

TO ANY POLICE OFFICER OF ST. LOUIS COUNTY, STATE OF MISSOURL GREETINGS:
In the matter of Search Warrant

APPLICATION FOR SEARCH WARRANT

1, Detective Michael Slaughter, DSN 3562, of the St. Louis County Police Department, being
duly sworn depose and state upon information and belief that the premises known,
numbered and designated as:

9524 Corregidor Drive, St. Louis, Missouri, 63134 is a single family residence
constructed of red brick, and a grey roof, The residence has a permanently affixed
number-9524 mounted on a porch post in front of the residence. The front door is
white in color,

is being used for the purpose of secreting:

evidence of the commission ofa crime and contraband consisting of child pornography, to
wit

Photographs, files and graphic images depicting sexual contact or a sexual performance
including actual or simulated, normal or perverted acts of human masturbation, deviate
sexual intercourse, sexual intercourse or physical contact with or touching of a person’s

clothed or unclothed genitals, pubic area, buttocks, anus, or the breast of a female in an act

of apparent sexual stimulation or gratification and which has as one of its participants or
portrays as an observer of such conduct , contact or performance, a child or minor under
the age of 18, electronic data processing and storage devices, computers and computer
systems including central processing units, internal peripheral storage devices such as
fixed discs, external hard discs, floppy discs and diskettes, tape drives and tapes, optical
storage devise or other memory storage devices, peripheral input/output devices such as
keyboards, printers, video display monitors, optical readers and related communication
devices such as modems, routers and other wireless devices; any and all cameras and
related equipment, video and audio recorders and all related recording equipment; any and
all photographs, copies of photographs and any manufactured hard copy of images related
to child pornography; any and all logs containing user names, passwords and
documentation or other identifiers necessary to examine or operate items; together with
system documentation, operating logs and handwritten notes related to user

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identifications, passwords and/or child pornography;

That the basis of affiant’s information and belief is contained in the attached affidavits of
witnesses to facts concerning the said matter which affidavits are made a part hereof and
are submitted herewith asa basis upon which this court may find the existence of probable
cause for thé issuance of said warrant.

WHEREFORE, your petitioner prays that a search warrant be issued as provided by law.

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(Police Office] 3SeC

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Subscribed and sworn to before me this Lf day of August, 2015 at_ i fo) .
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(Prosecuting Attorney) #

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} ss
COUNTY OF ST. LOUIS }

AFFIDAVIT

This affiant, Detective Michael Slaughter, DSN 3562, of the St. Louis County Police
Department of lawful age, being first duly sworn, deposes and says that he has reason to
believe:

Photographs, files and graphic images depicting sexual contact or a sexual performance
including actual or simulated, normal or perverted acts of human masturbation, deviate
sexual intercourse, sexual intercourse or physical contact with or touching of a person's
clothed or unclothed genitals, pubic area, buttocks, anus, or the breast of a female in an act
of apparent sexual stimulation or gratification and which has as one of its participants or
portrays as an observer of such conduct , contact or performance, a child or minor under
the age of 18, electronic data processing and storage devices, computers and computer
systems including central processing units, internal peripheral storage devices such as
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devices such as modems, routers and other wireless devices; any and all cameras and
related equipment, video and audio recorders and all related recording equipment; any and
all photographs, copies of photographs and any manufactured hard copy of images related
to child pornography; any and all logs containing user names, passwords and
documentation or other identifiers necessary to examine or operate items; together with
system documentation, operating logs and handwritten notes related to user
identifications, passwords and/or child pornography;

Are being kept and secreted in the place described as:
9524 Corregidor Drive, St. Louis, Missouri, 63134 is a single family residence constructed

of red brick, and a grey roof. The residence has a permanently affixed number 9524
mounted on a porch post in front of the residence. The front door {s white in color.

Affiant states that he has reason to believe such goods are being secreted therein because:

1. This Affiant, Detective Michael Slaughter, DSN 3562, has been employed as a Police
Officer for approximately ten years, and is currently assigned as a Detective to the Division
of Criminal Investigation, Special Investigations Unit with the St. Louis County Police
Department. During the course of this time period, this affiant has had numerous contacts
and dealings with informants, other police officers, subjects known to possess and sell
obscene material, subjects known to possess, distribute and manufacture child
pornographic images, adult subjects conducting sexually explicit electronic chat sessions
with minors and visually exposing their genitals to the minor via web cam chats. This
affiant has received specialized training in the area of computer-based investigations,
including but not limited to the ICAC Investigative Techniques, [CAC Undercover Chat
Techniques, ICAC Peer to Peer Investigations, TUX4n6 software, Forensic Scan, Cellebrite
and OS Triage Forensic Tools. This affiant has assisted with investigations and search
warrants relative to the crimes of manufacturing, possession, of electronic videos and
images. This affiant is also familiar with investigating Cyber tip reports, conducting on-
scene interviews and knock and talk techniques.

2. The statements in this affidavit are based in part on this affiant’s personal
knowledge or information provided by other law enforcement officers. Since this affidavit
is being submitted for the limited purpose of securing a search warrant, your affiant has
not included each and every fact concerning this investigation.

3. Special Investigator (SI) Wayne Becker is a certified Missouri Peace Officer
employed as a sworn Deputy with Dent County Sheriff's Department since 2004. SI Wayne
Becker has over 600 hours of training recognized and certified by the Missouri Peace
Officers Standards and Training commission and has had over 450 additional hours of
training, in the investigation of computer use in the exploitation of children, and in the
methods of forensic analysis of computers used in criminal activity, including the use of
peer-to-peer (P2P) and file sharing networks. SI Wayne Becker has an Associates of
Science degree in Data Processing from St. Louis Community College, is a certified
computer forensic examiner, has over 30 years of experience in the Information
Technology industry, and is an instructor in Basic Electronic Evidence Recovery for the
Missouri Internet Crimes Against Children {{CAC) Task Force. SI Wayne Becker is the Dent
County Sheriffs Department's representative on the Missouri ICAC Task Force and
coordinates the South Central Missouri Computer Crime Task Force.

4, This affiant received information from SI Wayne Becker, of the Dent County Sheriff's
Department related to child pornography. SI Wayne Becker stated in September 2013, he
began an undercover operation collecting keys and files being shared on a “Freenet”, a
publicly available peer to peer network, in order to build a data base of keys associated
with known or suspected child pornography images and videos.

5. In April 2012, SI Wayne Becker began running copies of Freenet that had been modified
for law enforcement to log the IP address, key, and date and time of requests that were sent to
these law enforcement Freenet nodes. These keys are then compared to keys of known child

pornography.

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6. While reviewing requests received by undercover Freenet nodes, located in
Missouri, SI Becker observed IP address 172.12.235.62 routing and/or requesting
Suspected child pornography file blocks. The number and timing of the requests was
< ‘significant enoughifo indicate that the IP address was the apparent original requester of the Cc
file. © “

7. SI Becker observed that on April 2, 2015 between 11:08PM UTC and 11:10PM UTC a
computer running Freenet software, at IP address 172.12.235.62, requested from Freenet
law enforcement nodes 69 parts, or blocks, of the e following file:

SHAI1: BODS262HHKS3VS4FLQSOAAVAWTOESFAW ss
File Name: Anonther Set 2 (set 2).zip \

. \ 0 Patan
SI Wayne Becker has downloaded this videe file with the referenced SHA1 value from Ke
Freenet and it is described as follows: “ae

Description: This folder contains 17 jpg images, all off a female child, 3-5 years of age.
In all of the images she is wearing only a night shirt and it is pulled up. Her legs are spread
displaying her genitals, An adult males hand can be seen spreading her buttocks for the
camera in 2 of the images. In 4 of the images an unseen male's penis is penetrating the
child anally.

8. On August 12, 2015 this affiant viewed the above listed files and observed that
‘they contained the imagery described above that this affiant believes to be child

pornography.

9. Asubpoena was sent to AT&T Internet Services for user/subscriber information,
to include method and type of payment for the IP address of 172.12.235.62 assigned on the
above date and times. A response from AT&T Internet Services, advising that this was an
AT&T U-Verse account and the IP address of 172.12.235.62 was assigned to Janis
Dickerman as of September 24, 2014, giving a service and billing address of 9524
Corregidor Drive, Saint Louis, Missouri, 63134, with a telephone number of (314)651-
9163.

10. An Ameren UE Utilities check revealed 9524 Corregidor Drive, St. Louis, Missouri,
63134, to be registered to Janis Dickerman, since 01/1999.

12, This affiant knows from training and experience that computer users can install
publicly available software that accesses a network known as Freenet. Freenet is a
distributed, Internet based, peer-to-peer network which lets a user anonymously share
files and chat on forums. Freenet is free software and the source code is publicly available.
Communications between computers running Freenet, or nodes, are encrypted and routed
through other Freenet nodes making it difficult to determine who is requesting the
information and what the content is of the information being requested. Freenet provides a
platform for message forums and Freesites, websites only available through Freenet.
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13. This affiant knows from training and experience that files, or parts of files, are
stored in Freenet using a key created from a compressed digital representation method
called Secure Hash Algorithm Version 256 or SHA256.

14, This affiant knows from training and experience that Freenet breaks a file into
small pieces, or blocks, each with their own unique key based on this SHA256 value, These
small blocks are then distributed across Freenet users, or nodes, and stored in disk space
provided by each user to Freenet. No one user has the entire intact file. The keys to all of

the parts of a file are found in a high level index block, or manifest. (Folk
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15. This affiant knows from training and experience that Internet computers identify

each other by an Internet Protocol or IP address. Your affiant knows that these IP
addresses can assist law enforcement in finding the location of a particular computer on
the Internet. These IP addresses lead the law enforcement officer to a particular Internet
service provider or company (ISP). Given the date and time the IP address was used, an ISP
can typically identify the account holder by name and physical address.

16. This affiant knows from training and experience that a computer running Freenet
will receive requests from other computers running Freenet containing the key of a part of
a file to retrieve from that node's data store, or to forward to another user that may have
that part of the file.

17. This affiant knows from training and experience that Freenet’s attempt to hide
what a user is requesting from the network has attracted persons that wish to collect
and/or share child pornography files. Freenet is not a significant source of music, adult
pornography, theatrical movies or other copyright material. Cae  Deha te
18. This affiant knows from training and experience that Freenet users connect to
other users, unknown to them, or peers. They then send requests to these peers for the
blocks of files they are attempting to download.

19, This affiant knows from training and experience that the requests that a user of
Freenet sends to a peer contain only the key for the block of data and not the encryption
password to make the data readable. A user relies on the inability of a peer to decrypt a
block of data or know what file contains this block to hide his use of the Freenet network to
obtain child pornography files. .

20, This affiant knows from training and experience that someone requesting blocks
of a file has taken substantial steps to install Freenet and locate a file’s key to download.
Freenet provides no search mechanism common to other file sharing systems. A subject
desiring to download a file must first find the key on a Freesite or message board
containing material of interest.

21. This affiant knows from training and experience that streams of requests for
blocks of a particular file fromm an IP address can be evaluated to determine if the IP address
is the likely requester of the file.

22, This affiant knows from training and experience that some people who collect
child pornography tend to keep the images they obtain for extended periods of time and do
not delete the images. They tend to regard the images as trophies and use them for sexual
gratification. They also use the collected images and videos of child pornography as
‘bargaining tools when trading child pornography with other individuals, While others
delete these images knowing they are able to acquire them again with the use of the
internet.

23. This affiant knows from training and experiences that people who tend to coilect
images. of child pornography use video and audio components to capture and record child
pornography. They are also known to transfer these images to other digital media storage
devices.

24. This affiant knows from training and experience that it is possible to recover
digital files forensically even if they have been deleted,

WHEREFORE, your petitioner prays that a search warrant bf issued as provided by law.

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